38 F.3d 1213NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Restoney ROBINSON, Plaintiff Appellant,v.Ron KENICO, Postal Inspector;  B.T. Brooks;  Angela Threatt;Edith Pope;  Sergeant Little;  Officer Williams;Sherry Allen, Defendants Appellees.
    No. 94-6838.
    United States Court of Appeals, Fourth Circuit.
    Submitted August 25, 1994.
    Decided October 13, 1994.
    
      Appeal from the United States District Court for the Western District of North Carolina, at Charlotte.  Graham C. Mullen, District Judge.  (CA-93-381-MU)
      Restoney Robinson, Appellant Pro Se.
      W.D.N.C.
      AFFIRMED.
      Before RUSSELL and MICHAEL, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his second Fed.R.Civ.P. 60(b) motion for reconsideration.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Robinson v. Kenico, No. CA-93-381-MU (W.D.N.C. June 1, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    